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UNITED STATES DISTRICT COURT ‘CERK, US. pisTRICT CO
CENTRAL DISTRICT OF CALIFORNIA
MAR - 4 2023
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Lyle Menendez, CASE NUMBER ar oe pct CALIFORNIA
BY ___ DEPUTY
Petitioner, CV 00-02359R(AN) %
v.
NOTICE OF FILING
C. A. Terhune, OF MAGISTRATE JUDGE’S REPORT
AND RECOMMENDATION AND THE
Respondent. LODGING OF PROPOSED JUDGMENT
AND/OR ORDER
TO: All Parties of Record
Cliff Gardner Kenneth C. Byrne, Supervising DAG
2088 Union Street Office of the Attorney General
Suite 3 300 South Spring Street, Suite 5000

San Francisco, CA 94123 Los Angeles, CA 90013

You are hereby notified that pursuant to the Local Rules Governing Duties of Magistrate Judges, the
Magistrate Judge's report and recommendation has been filed and a proposed judgment and/or order
has been lodged on March 4, 2003, copies of which are attached.

Any party having objections to the report and recommendation and the proposed judgment and/or
order shall, not later than March 21, 2003, file and serve a written statement of objections with points
and authorities in support thereof before the Honorable Arthur Nakazato, U.S. Magistrate Judge.

Failure to so object within the time limit specified shall be deemed as consent to the recommendation
and a waiver of any appeal. Upon receipt of objections, or upon the lapse of the time for filing
objections, the case will be submitted to the District Judge for disposition. Following entry of judgment
and/or order, all motions or other matters in the case will be considered and determined by the District
Judge.

The report and recommendation of a Magistrate Judge is not a final appealable order. A notice of
appeal pursuant to Federal Rules of Appellate Procedure 4(a)(1) should not be filed until entry of a
judgment and/or order by the District Judge.

CLERK, UNITED STATES DISTRICT COURT

Dated: March 4, 2003 By Melissa Cash /
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Attachments fo ARTES) THER RESPECTIVE OST EEN ADRES F ENTER ON ICMS

RECORD IN THIS ACTION OW THIS DATE,

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M-51 NOTICE OF FILING OF MAGISTRATE JUDGE'S REPORT aND____\Vln |
(6/98) RECOMMENDATION AND THE LODGING OF PROPOSED JUDGMENT AND/OR ORDER

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CLERK, US. DISTRICT COURT

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION
LYLE MENENDEZ, Case No. CV 00-02359-R (AN)
Petitioner, P RO Dp OS E D
v. ORDER APPROVING AND ADOPTING
REPORT AND RECOMMENDATION OF
C. A. TERHUNE, UNITED STATES MAGISTRATE JUDGE
Respondent.
Pursuant to 28 U.S.C. § 636, the Court has reviewed the file, including the Magistrate
Judge’s Report and Recommendation, de novo.

IT IS ORDERED:

1. | The Report and Recommendation is approved and adopted.

2. Judgment shall be entered denying the Petition and dismissing this action with
prejudice.

IT IS FURTHER ORDERED that the Clerk of the Court shall serve a copy of this

Order and the Judgment on all counsel or parties of record,

Dated: , 2003

MANUEL L. REAL
UNITED STATES DISTRICT JUDGE

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CLERK, US DISTRICT COURT

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CENTRAL DISPRIG] OF CALIFORNIA
BY DEPUTY

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

LYLE MENENDEZ, Case No. CV 00-02359 R (AN)

Petitioner,
V. JUDGMENT PROPOSED
C. A. TERHUNE,

Respondent.

IT IS HEREBY ADJUDGED that this action is dismissed with prejudice for the

reasons set forth in the Magistrate Judge’s Report and Recommendation.

Dated: , 2003

MANUEL L. REAL
UNITED STATES DISTRICT JUDGE

